                          UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION

                                 DOCKET NO. 3:13cr293-MOC-DCK

UNITED STATES OF AMERICA,                        )
                                                 )
                         Plaintiff,              )
                                                 )
          v.                                     )              ORDER OF FORFEITURE
                                                 )
GLENTAVIS MCCOREY,                               )
                                                 )
                         Defendant.              )


          In the Bill of Indictment in this case, the United States sought forfeiture of property of the

Defendant as property that was used or intended to be used to facilitate the crimes charged,

which would be subject to forfeiture under 18 U.S.C. § 924, 21 U.S.C. § 853, and 28 U.S.C. §

2461.

          Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

Bill of Indictment; and was adjudged guilty of the offense charged in that count. In the plea

agreement, Defendant has agreed to forfeit specific property as described below. In addition,

the record establishes a nexus between the property and the offense of conviction.

          It is therefore ORDERED:

          1.     Based upon Defendant’s plea of guilty and the evidence in the record, the United

States is authorized to seize the following property belonging to Defendant, and it is hereby

forfeited to the United States for disposition according to law, provided, however, that such

forfeiture is subject to any and all third party claims and interests, pending final adjudication

herein:

          One Ruger, model P90, .45 caliber pistol, serial number 662-17057 with




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ammunition;

       One Glock, model 19, .9mm pistol, serial number MDB171 with ammunition.

       2.      Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish notice of this

order; notice of its intent to dispose of the property in such manner as the Attorney General may

direct; and notice that any person, other than the Defendant, having or claiming a legal interest in

any of the above-listed forfeited property must file a petition with the Court within thirty days of

the final publication of notice or of receipt of actual notice, whichever is earlier. This notice shall

state that the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged

interest in the property, shall be signed by the petitioner under penalty of perjury, and shall set

forth the nature and extent of the petitioner’s right, title or interest in each of the forfeited

properties and any additional facts supporting the petitioner’s claim and the relief sought. The

United States may also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in property that is the subject of this Order of Forfeiture, as a

substitute for published notice as to those persons so notified.

       3.      Upon adjudication of third-party interests, if any, this Court will enter a final

Order of Forfeiture pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32(c)(2).

       4.      If no third party files a timely claim, this Order of forfeiture shall become final

and shall be made part of the sentence and included in the judgment, as provided by Fed. R.

Crim. P. 32.2(b)(4) and 32.2(c)(2).




                                                            Signed: October 14, 2014




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